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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 9:22-cv-80160-KAM

  MATTHEW KLEIN, and THE
  HEALTH SPECTRUM, LLC,

  Plaintiffs,

  v.

  DIAN OVED, and OVED MEDIA
  INTERNATIONAL INC. d/b/a EMPOWER
  DIGITAL,

  Defendants.
  ______________________________________/

                                               ORDER

          The above-styled cause has been set for an oral argument on Plaintiff’s Motion for a

  Preliminary Injunction (DE 75) on Friday, February 3, 2023 at 10:00 a.m. before United States

  District Judge Kenneth A. Marra, 701 Clematis Street, Courtroom 4, West Palm Beach, Florida.

  The Court is particularly interested in hearing argument on the issue of collateral estoppel and

  whether if collateral estoppel applies, there is a need for an evidentiary hearing on the motion.

          DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County,

  Florida, this 3rd day of January, 2023.




                                                               KENNETH A. MARRA
                                                               United States District Judge
